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 3
 4                               UNITED STATES DISTRICT COURT
 5                              EASTERN DISTRICT OF WASHINGTON
 6
 7    UNITED STATES OF AMERICA,

 8                 Plaintiff,                    NO. 2:16-CR-00028-JLQ-3

 9                                               ORDER GRANTING MOTION TO
                   v.                            MODIFY
10
11    SHAWN W. FITZGERALD,

12                 Defendant.

13         BEFORE THE COURT is Defendant’s “Second Motion to Modify Pretrial Release
14 Condition No. 14" (ECF No. 117), which seeks permission to travel outside this District
15 for the purposes of employment. Defendant contends the modification will allow him to
16 drive additional routes and earn additional income that he will put towards restitution.
17 The Motion is supported by a letter from Defendant’s employer. The Motion states that
18 neither the supervising Probation Officer, or the Government, oppose the request for
19 modification.
20         IT IS HEREBY ORDERED:
21         1. Defendant’s Motion to Modify (ECF No. 117) is GRANTED.
22         2. Condition No. 14 is modified to now read: Defendant may travel throughout the
23 State of Washington, Idaho, Montana, and Oregon for employment purposes only. When
24 not traveling for employment purposes, Defendant shall remain in the Eastern District of
25 Washington. If Defendant seeks additional changes in his release conditions he shall
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 1 submit a timely motion which clearly states whether opposing counsel and Pretrial Service
 2 object to the request after prior notice.
 3         3. All other conditions of release imposed by Magistrate Judge Rodgers remain as
 4 previously set and Defendant shall comply with all conditions.
 5         IT IS SO ORDERED. The Clerk is hereby directed to enter this Order and furnish
 6 copies to counsel.
 7         DATED this 12th day of September, 2016.
 8                                s/ Justin L. Quackenbush
                                JUSTIN L. QUACKENBUSH
 9                        SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
